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IN THE UNITED STATES DISTRICT
COURT FOR THE EASTERN DISTRICT
OF PENNSYLVANIA

BARBARA JOHNSON,

Plaintiff, CIVIL ACTION NO.: 2:17-CV-04490-JCJ
V.

BRANCH BANKING AND
TRUST COMPANY,
SUCCESSOR BY MERGER TO
SUSQUEHANNA BANK,

Defendant/Third-
Party Plaintiff,

V.

 

RICHARD A. JOHNSON, JR. and
VIRGINIA THOMAS

Third-Party Defendants.

PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT’S MOTION FOR
SUMMARY JUDGEMENT

NOW COMES Plaintiff Barbara Johnson, by and through her undersigned
counsel and hereby files Plaintiff's Brief In Opposition to Defendant’s Motion For

Summary Judgement, stating as follows:
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I. INTRODUCTION

I.

The issue in the current case before this Honorable Court is where is
Defendant’s proof that a joint checking account existed between the three (3)
Johnsons’, Plaintiff Barbara Johnson, deceased husband Richard A. Johnson Sr.,
and stepson Richard A. Johnson Jr., between January 2015 and September
2015.

STATEMENT OF THE FACTS

1. The facts relevant to this matter and supported by evidence and testimony
introduced at trial in the Orphans Court matter are contained in Judge Tunnell's
opinion, are categorized as follows:

a) That Richard A. Johnson Jr. Deposited $509,110.00 in Decedent and

Plaintiff's Susquehanna Bank/BB&T account. [DKT No. 77-Exhibit A]

 

b) That Richard A. Johnson Jr. set aside in his personal account, $300,000.00
and an additional $18,000.00. [DKT No. 77 Exhibit A]

c) That most, if not all of the endorsed checks, did not contain the signature
of Plaintiff. [DKT No. 77 Exhibit A].

d) That Plaintiff never saw any of the checks issued by Lititz. [DKT No. 77
Exhibit A]

e) That Richard A. Johnson Jr's testimony that he did not know who signed

Plaintiffs check was not "credible". [DKT No. 77 Exhibit A]

 
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f) That Richard A. Johnson Jr. kept $300,000.00 for himself and failed to
account for an additional $200,000.00. [DKT No. 77 Exhibit A].

2. On January 21, 2015 Plaintiff entered into a bilateral contract with Defendant
to open a checking account for sole purpose of depositing insurance proceeds resulting
from a fire at her residence on New Year’s Eve of 2014. [DKT No. 77 Exhibit Bl.

3. Therefore, at the time Plaintiff opened her account on January 21, 2015, she
was an individual account holder/owner under customer/deposit agreement. [DKT No.
77-Exhibit B]

4. As an existing account holder, Defendant needed Plaintiff's
consent/authorization as a condition precedent, before Defendant could add anyone to
Plaintiff's existing checking account. (See EXHIBIT-A - BB&T/Susquanna
Procedure dated 2014 for Adding Person to Existing Account).

However, without Plaintiff's consent/authorization:

(a). Defendant placed two unauthorized users on Plaintiff's personal checking
account i.e., Richard A. Johnson, Sr., and her stepson Richard A. Johnson, Jr. [DKT

No. 77 Exhibit D]

(b). Defendant created a joint checking account with Plaintiff's late husband

 

Richard A. Johnson, Sr., and her stepson Richard A. Johnson, Jr. when both were added

to her individual checking account; [DKT No. 77 Exhibit D]

 
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(c). Defendant allowed non-account holder Richard A. Johnson, Jr., to deposit
fraudulently endorsed insurance proceed checks made payable to Plaintiff and her now
deceased husband into Plaintiffs personal checking account; [DKT No. 77 Exhibit A].

(d). Defendant allowed Richard A. Johnson, Jr., a non-account holder to change
the address for mailing the monthly bank statements on Plaintiff's checking account
from 321 Pemberton Road Kennett Square, Pennsylvania to his personal home address
at 519 School House Road Kennett Square, Pennsylvania. [DKT No. 77 Exhibit E]

(e) Defendant allowed non-account holder Richard A. Johnson, Jr., to withdraw
the insurance proceeds checks totaling $509,110.03 from Plaintiff's checking account;

(f) Defendant’s breached of customer/deposit agreements resulted Plaintiff
suffering damages in the amount of $509,110.03, attorney fees, pre-judgment and post-
judgment interest and emotional distress. [DKT No. 77 Exhibit C]

III. QUESTIONS PRESENTED

A. WHETHER ISSUES OF FACT EXIST BARRING SUMMARY
JUDGMENT BASED ON PLAINTIFF’S ALLEGED FAILURE TO
NOTIFY DEFENDANT OF UNAUTHORIZED WITHDRAWALS
WITHIN 60 DAYS OF OCCURRENCE?

ANSWERS: YES.

B. WHETHER ISSUES OF FACT EXIST BARRING SUMMARY

JUDGMENT BASED ON PLAINTIFF’S ALLEGED FAILURE TO

NOTIFY BBT OF UNAUTHORIZED WITHDRAWALS WITHIN 1
YEAR OF OCCURRENCE?
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ANSWERS: YES.

C. WHETHER BANK BREACHED CUSTOMER/DEPOSIT
AGREEMENT WITH PLAINTIFF?

ANSWER: YES.

D. WHETHER THE ISSUE OF A JOINT ACCOUNT WAS LITIGATED
IN 2016 ORPHAN’S COURT TRIAL?

ANSWER: NO.

E. WHETHER THE ISSUE OF PROMISSORY ESTOPPLE
PRECLUDES PLAINTIFF FROM RELITIGATION JOINT ACCOUNT

ISSUE?
ANSWER: NO.

F. WHETHER DEFENDANT VIOLATED THE STANDARD OF
ORDINARY CARE PURSUANT TO PENNSYLVANIA UNIFORM
COMMERCIAL CODE 13 PA.C.S.A. § 3103 AND 13 PA.C.S.A. § 3406?

ANSWER: YES.

G. WHETHER DEFENDANT DEFENDANT FAILED TO FOLLOW
BANK GUIDELINES DATED 2014 FOR ADDING PERSONS TO
EXISTING ACCOUNTS?

ANSWER: YES.

H. WHETHER DEFENDANT’S PROCESS REGARDING OPENING A
JOINT ACCOUNT EVOLVED BETWEEN JUNE 29, 2012 AND
JANUARY 21, 2015?

ANSWER: YES.
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IV. STANDARD OF REVIEW

Summary judgment is to be entered only in those cases that are clear and free
from doubt, where the uncontroverted allegations of the pleadings and the other
permissible material filed in support of and in opposition to the motion reveal that there
is no genuine issue as to a material fact and that the movant is entitled to judgment as a
matter of law. Cooperstein v. Liberty Mutual, 416 Pa. Super 488, 611 A.2d 721 (1992).

The burden rests upon the moving party to demonstrate clearly that there is no
genuine issue of material fact. In determining whether there is a dispute of material fact,
the court must take the view of the evidence most favorable to the non-moving party
and give that party the benefit of all favorable inferences that may be reasonably drawn
from the evidence. Graf v. State Farm Insurance Co., 352 Pa.Super 127, 507 A.2d 414
(1986). A fact is material if it directly affects the disposition of a case. Allen v. Colautti,
53 Pa. Commw. 393, 417 A.2d 1303 (1980).

Summary judgment may be granted only where the right is clear and free from
doubt. Britamco Underwriters Inc. v. Weiner, 431 Pa.Super 276, 636 A.2d 649 (1994).
The court's responsibility is merely to determine whether such an issue of material fact
exists; the court does not resolve the issue on its merits. Rutherfoord v. Presbyterian-
University, 417 Pa.Super 316, 612 A.2d 500 (1992); only whether there are issues of

fact to be tried. Mylett v. Adamsky, 139 Pa.Commw. 637, 591 A.2d 341 (1991).
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The function of a summary judgment is to avoid a useless trial. William J. Heck
Builders Inc. v. Martin, 315 Pa.Super 395, 462 A.2d 253 (1983). The purpose of the
rule is to allow the moving party to disclose the facts of his claim or defense. Elder v.
Nationwide Insurance Co., 410 Pa.Super 290, 599 A.2d 996 (1991). " Our rules of civil
procedure are designed to eliminate the poker game aspect of litigation and compel the
players to put their cards face up on the table before the trial begins." Roland v. Kravco
Inc., 355 Pa. Super 493, 501, 513 A.2d 1029, 1034 (1986).

Plaintiffs facts are uncontroverted and therefore must be accepted as true and
valid as pled. Defendant has presented no evidence, no depositions, no interrogatories,
no admissions, nothing to raise a genuine issue of material fact for a jury to decide
regarding the existence of a joint checking agreement between Plaintiff Barbara
Johnson, Richard Senior and Richard Junior).

For the reasons set forth below, and viewing the evidence in the light most
favorable to Defendant, see Hugh v. Butler County Family YMCA, 418 F.3d 265,267
(3d Cir. 2005), there is no genuine issue as to any material fact, and Plaintiff is entitled
to judgment as a matter of law.

The Bank is liable to Plaintiff for the wrongful actions of two non-account

holders when without consent or authorization the Bank unilaterally added both to
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Plaintiff's individual checking account holding her insurance proceeds. Plaintiff is
entitled to summary judgment as a matter of law.

There are three major elements required for a breach of contract action in
Pennsylvania, a valid enforceable contract must exist; there must be a breach of a duty
imposed by that contract; and this breach results in damages. J.F. Walker Co., Inc. v.

Excalibur Oil Group, Inc.,792 a2d 1269 (Pa Super, 2002).

V. ARGUMENT

A. Plaintiffs Alleged Failure To Notify Defendant Of Unauthorized Withdrawals
Within 60 Days Of Occurrence; and,

B. Plaintiff’?s Alleged Failure To Notify Defendant Of Unauthorized Withdrawals
Within 1 Year Of Occurrence.

Federal Rule of Civil Procedure 56(c) provides that summary judgment may be
granted if, drawing all inferences in favor of the non-moving party, “the pleadings,
depositions, answers to interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any material fact and that the
moving party is entitled to a judgment as a matter of law.” FED.R.CIV. P. 56(c). A
motion for summary judgment will be defeated when there [are] genuine issues of
material fact. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-248 (1986).

In determining whether the dispute is genuine, the court’s function is not to weigh

the evidence or to determine the truth of the matter, but only to determine whether the

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evidence of record is such that a reasonable jury could return a verdict for the non-
moving party. Id. at 249.

The court may consider any material or evidence that would be admissible or
usable at trial in deciding the merits of a motion for summary judgment. Horta v.
Sullivan, 4 F.3d 2, 8 (1st Cir. 1993); Pollack v. City of Newark, 147 F. Supp. 35, 39
(D.N.J. 1956), aff'd, 248 F.2d 543 (3d. Cir. 1956), cert. denied, 355 U.S. 964 (1956)
(“in considering a motion for summary judgment, the court is entitled to consider
exhibits and other papers that have been identified by affidavit or otherwise made
admissible in evidence.”)

It is undisputed that monthly bank on 3114 account was mailed to 317 Pemberton
Road, Kennett Square after the fire because Plaintiff's home was completely destroyed
by fire. During that time the Pemberton address was only being utilized to receiver
Plaintiff's mail. The mailbox on 317 Pemberton road was not accessible by Plaintiff.
During her deposition she testified that it was about four (4) miles from where she was
temporarily living with her daughter. Johnson Junior retrieved all the mail including the
Defendant’s bank statements. Nothing of current record shows that Johnson Junior
shared those statements with Plaintiff, since their relationship was caustic.

In May 2015, Junior, without Plaintiff's knowledge or consent, changed the

address on Plaintiff's 3114 account to his personal residence, 519 School House Road
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where resides with his aunt. The record verifies that this change of address occurred
concurrently with him withdrawing $100,000 in a cashier’s check with BB&T Bank
Manager’s Wendy Petrondi’s signature drawn from 3114 account. Again, Junior did
not provide Defendant bank statements to Plaintiffs because he did not want her to know
that he was withdrawing funds from her account.

In her amended complaint, in her deposition testimony, and her affidavit,
Plaintiff, an 80-year-old woman, has consistently testified that she did not discover
Johnson Junior’s theft until after her husband died in September of 2015. At her
husband’s death Junior had emptied the account of over $500,000 dollars in July of
2015. When Plaintiff found out from Bank that her account had been depleted, she
immediately retained counsel and filed a claim in Orphans Court.

Accordingly, there are numerous genuine issues of material facts barring
Summary Judgment as follows:

1. Did Plaintiff know that Johnson Junior had been given access to her account
by BB&T?

2. Can Defendant provide a signature card or signed account agreement adding
Junior/Senior Johnsons to the account 3114?

3. Did Johnson Junior conceal status of the bank account by changing address
at withdrawing $100,000 so that he could control and deplete Plaintiff's

account?

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4. Did Johnson Junior change the account from Pemberton to his home address
at 519 School House Road without Plaintiff's knowledge?

5. Did Plaintiff act promptly and appropriately when she was informed by
Defendant of the depleted status of her account 3114?

6. Did BB&T initiate an investigation (as their policies require) once they
learned from Plaintiff that she did not give access to 3114 to Johnson Junior

and was unaware that funds were being withdrawn by him from her account?

The above issues are clearly factual issue that have to be resolved by a trier of facts.

C. The issue of a joint account was not litigated in October 2016 Orphan Court
Case No. 1515-1782 trial? (See EXHIBIT- B TRANSCRIPT).

On November 7, 2019, Plaintiff sent all Counsels copies of Case No. 1515-1782
transcripts. (See Exhibit E - email dated Nov 7, 2019) The subject matter of the case
1515-1782 was “Petition to Remove Executor and Surcharge”. A review of the two-day
trial transcript provides no evidence supporting Defendant allegation that a joint account
ever existed with all three (3) Johnsons’ names. The joint account was not a claim in
the case. (See EXHIBIT C- Orphan Court’s Petition ).

While Defendant has known this fact since 2019, Defendant continues to assert
that Plaintiff should be estopped from relitigating the joint account issue while knowing
facts contrary to Defendant’s assertion.

Collateral estoppel in the form of issue preclusion that bars relitigation of an issue

if the precise issue has been decided in an earlier adjudication by a final judgment on
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the merits; the party against whom the doctrine is asserted was a party, or is in privity
with a party, to the prior proceeding; and the party against whom it is asserted has had
a full and fair opportunity to litigate the particular issue in the prior proceeding. Angelico
v. Lehigh Valley Hospital, Inc., 2005 WL 5163656 (Lehigh Co. Dec. 2005) (citing
Murphy v. Duquesne Univ. of the Holy Ghost, 565 Pa. 571, 777 A.2d 418, 435 (2001));
Schultz v. Connelly, 378 Pa.Super. 98, (1988); Day v. Volkswagenwerk
Aktiengesellschaft, 318 Pa.Super. 225, 464 A.2d 1313, 1319 (Pa. Super. 1983) (internal
citations omitted); Hudson v. Shoemaker, 25 Phila. 54, 1992 WL 551115, 16 Pa. D. &
C.4th 143 (Phila. Co. Oct. 21, 1992); Middlesex United Presbyterian Church in the
United States v. Middlesex Presbyterian Church, 44 Pa. D. & C.3d 98, 1986 WL 20653,
(Butler Co. Oct. 30, 1986); Office of Disciplinary Counsel v. Kiesewetter, 585 Pa. 477,
889 A.2d 47 (2005).

Therefore, in October 2016 Orphan Court Case No. 1515-1782, the precise issue
of a joint account existing between all three (3) Johnsons, i.e., Plaintiff, Johnson, Jr. and

Johnson, Sr., Johnsons was not litigated in the Orphan Court Case.

D._Plaintiff’s evidence supports Defendant’s breach customer/deposit agreement.

Under the terms and conditions of deposit agreement Plaintiff signed on January

21, 2015,... "if you sign the signature card or open or continued to use the account you

agree to these rules”. [Dkt. No. 77 - Exhibit B].

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Further, under the terms and conditions of deposit agreement, Bank defines “you”
"means the account holder(s) and anyone else with the authority to deposit withdraw or
exercise control over the funds in the account”. [Dkt. No. 77 Exhibit B].

Plaintiff did not authorize either Richard Junior nor Richard Senior to deposit,
withdraw or exercise control over her individual account. [ DKT No. 77 Exhibit-F]

The bank breached the terms and conditions of the deposit agreement with
Plaintiff. On January 21, 2015 when Plaintiff opened her account, she was an
individual account holder which is defined as ...‘‘an account in the name of one
person.” [DKT No. 77 Exhibit B-]

Also, on January 21, 2015, the Bank breached the terms and conditions of the
deposit agreement with Plaintiff, when Plaintiff opened her account, Plaintiff was...
“a single individual is the owner". [DKT No. 77 Exhibit B] | When the Bank added
Richard Johnson Jr. and Richard Johnson, Sr., to Plaintiffs individual/single owned

account, said account was transformed into a joint account. Such was never intended

by Plaintiff. [DKT No. 77 Exhibit F]

 

During questioning of Wendy Petrondi during her deposition regarding how the
Bank put/add names on the Bank Monthly Statement she stated... “the three of them

opened this account together”. [DKT No. 77 Exhibit G ]

 

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Not only did the three Johnsons’ never “opened this account together” the
discovery record substantiates the fact that Defendant has never produced any evidence
of a joint account signature, customer agreement, deposit agreement in the name of the
three (3) Johnsons and dated January 21, 2015.

E. Plaintiff has additional evidence to support _a breach of contract claim by
Defendant.

The method for creating an account holder begins with signing signature card/
customer agreement. In the second paragraph of Customer Agreement signed by
Plaintiff on January 21, 2015 it states...(sic) “By signing this Agreement, you are
establishing a relationship with us. You may from time to time select accounts and
services under this Agreement. In connection with those accounts and services, you
may open deposit accounts or obtain services, you may then make deposits, withdrawal
or transfer all or any portion of the balance of your account, change account information
or close your accounts or services.” [DKT No. 77 Exhibit B]

When Plaintiff signed Customer Agreement on January 21, 2015 she signed as
an individual account holder i.e., “an account in the name of one person” as defined in
“Deposit Agreement Ownership Provision” (See Column 4-(bottom) & Column 5

entitled...” Individual Account” . The signature card/customer agreement is in one name

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and has only one signature, Barbara Johnson, no Johnson Jr., nor Johnson, Sr. [Dkt No.
77 Exhibit B]

During Bank Manager Wendy Petrondi’s deposition testimony she testified that
to become an “account holder”, the signature card/customer agreement must be signed.

[Dkt. No. 77-Exhibit H]. Wendy Petrondi also defined an “account holder” as one who

 

can make deposits, withdrawals and changes the address on the account [Dkt. No. 77 -
Exhibit I] Therefore, absent a signature card having all three Johnsons’ names listed
on it, Defendant Susquehanna Bank/BB&T, breached the terms and conditions provided
only to an “account holder(s)” i.e., : (a) WITHDRAWLS, (b) STATEMENTS and
(c) CHANGE OF ADDRESS".

(a). "WITHDRAWALS" That the account holder, who signed to open the

account, is the authorized to make withdrawals. [DKT No. 77 Exhibit B]

“Generally- Unless clearly indicated otherwise on the account records, any of you,
acting alone, who signs to open the account or has authority to make withdrawalsor
transfer all or any part of the account balance at any time. Each of you (until we receive
written notice to the contrary) authorizes each other person who signs or has authority
to make withdrawals to indorse any item payable to you or your order for deposit to this

account or any other transaction with us”. [DKT No. 77 EXHIBIT B- Column 3 under

 

heading entitled” Withdrawals’’].

 

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(b). That the 'CHANGE OF ADDRESS" provision of the Deposit Agreement
signed by Plaintiff, mandates two conditions precedent for executing a "change of
address ...."". must be made in writing by an account holder" ... a writing
authorizing him to change the address as an "account holder". [Dkt No. 77 Exhibit B-
Column 12 entitled...” Address or Name Changes”’]

(c). That the "STATEMENTS" provision of the deposit Agreement signed by
Plaintiff and wherein the address for mailing Plaintiffs monthly bank statements without
having such authorization as ... an account holder to do so. More importantly, Bank had
no writing supporting said change of address for the monthly bank statements of Plaintiff.
[Dkt. No. 77 - Exhibit B- Deposit Agreement - Column 12 under heading

entitled...” Address or Name Changes”’].

 

F. Defendant violated the standard of ordinary care under Pennsylvania UCC.

 

As a banking customer, Defendant owed Plaintiff a duty of ordinary care as
defined under Pennsylvania Uniform Commercial Code 13 Pa.C.S.A. § 3103,
Definitions and index of definitions is the following definition of Ordinary Care:

“In the case of a person engaged in business, means observance of reasonable

 

commercial standards, prevailing in the area in which the person is located, with respect

to the business in which the person is engaged. In the case of a bank that takes an

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instrument for processing for collection or payment by automated means, reasonable
commercial standards do not require the bank to examine the instrument if the failure
to examine does not violate the bank's prescribed procedures and the bank's procedures
do not vary unreasonably from general banking usage not disapproved by this division
or Division 4 (relating to bank deposits and collections).”

As a banking customer, Defendant owed Plaintiff a duty of ordinary care as
defined by 13 Pa.C.S.A § 3406, which states, in pertinent part: “If the person paying
the instrument or taking it for value or for collection fails to exercise ordinary care in
paying or taking the instrument and that failure substantially contributes to loss resulting
from the fraud, the person bearing the loss may recover from the person failing to
exercise ordinary care to the extent the failure to exercise ordinary care contributed to
the loss’?

Defendant violated that duty of ordinary care and failed to observe reasonable

bank procedures in the following instances (a). Defendant placed two unauthorized

 

users on Plaintiff's personal checking account i.e., Richard A. Johnson, Sr., and her

 

stepson Richard A. Johnson, Jr; (b) created a joint checking account with Plaintiff's late
husband Richard A. Johnson, Sr., and her stepson Richard A. Johnson, Jr.;  (c).

allowed non-account holder Richard A. Johnson, Jr., to deposit fraudulently endorsed

 

insurance procced checks made payable to Plaintiff and her now deceased husband into

 

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Plaintiff's personal checking account; allowed Richard A. Johnson, Jr., a non-account
holder to change the address for mailing the monthly bank statements on Plaintiff's
checking account from 321 Pemberton Road Kennett Square, Pennsylvania to his
personal home address at 519 School House Road Kennett Square, Pennsylvania; and,
(e). allowed non-account holder Richard A. Johnson, Jr., to withdraw the insurance

proceeds checks totaling $509,110.03 from Plaintiff's checking account.

As a banking customer, Defendant owed Plaintiff a duty of ordinary care as
defined by 13 Pa.C.S.A § 3406, which states, in pertinent part:... “If the person paying
the instrument or taking it for value or for collection fails to exercise ordinary care in
paying or taking the instrument and that failure substantially contributes to loss resulting
from the fraud, the person bearing the loss may recover from the person failing to
exercise ordinary care to the extent the failure to exercise ordinary care contributed to

the loss”?

Banks duty of care to Plaintiff under UCC of Pennsylvania was breached when
Bank allowed Johnson, Jr., to deposit fraudulently endorsed proceeds checks in her

name into account 3114.

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G. Bank guidelines dated 2014 for adding persons to existing accounts

Defendant failed to adhere to Banks Internal Susquehanna Bank ( 2014 Internal
Policy/Guidelines— Adding Names/Signers To Existing Personal Accounts). (SEE
Exhibit A- Adding Names/Signers To Existing Personal Accounts )

(sic)...” Existing customers may request to have additional signers added to their
account(s). Both the existing customer(s) and the person being added must be present”.

(sic)...”Ask the existing account owner(s) to sign the Acknowledgement of
Account Owner(s) form”.

Plaintiff was never contacted, nor involve in process, nor signed any

acknowledgement form adding either Johnson Jr., and/or Johnson, Sr. to her account

3114.

H. Creating Joint Account Has Evolved Between June 29, 2012 and January 21,
2015.

Defendant asserts that its customer agreements in prior instances are “universal”
account agreement that authorized the Bank to add of Johnson, Jr., and Johnson, Sr. to
Plaintiff's checking account 3114.

This statement is inconsistent with evidence of record which shows past conduct

as to how Defendant created a joint account three(3) years earlier. For example the

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record shows that on June 29, 2012 both Plaintiff and her now deceased husband
Richard Sr., signed/dated a customer agreement and created a joint account. There was
no joint account created in with Johnson Sr., or Johnson Junior on January 21, 2015.

Plaintiff was the only signature on the account dated January 21, 2015 until
Defendant unilaterally added Johnson Sr. and Jr., both, without customer agreements
were added to February 2015 monthly bank statement (See EXHIBIT-D Plaintiff and
deceased husband Customer Agreements dated June 29, 2012).

As the record shows in 2012, the requirements to open joint account seemed to
have evolved from having all parties present, have all sign/date customer agreement
account to opened joint account to Defendant adding parties without all present .

During questioning of Wendy Petrondi, BB&T Bank Manager, at her deposition
regarding “how the Bank put/add names of Johnson Jr., and Johnson, Sr. on Plaintiffs
February 17, 2015 Monthly Bank Statement” she stated... “the three of them opened this
account together”. The Bank manager’s statement is also consistent with the Bank
policy and guidelines of 2014 regarding adding person to an existing ...“the person

being added must be present” (emphasis added)

 

However, Defendant has produced no evidence 1.e., customer agreements having
all three (3) Johnsons i.e., Plaintiff, Johnson Sr., and Johnson Jr, present when Plaintiff

opened her account to deposit the insurance proceeds on January 21, 2015.

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WHEREFORE, Plaintiff hereby request this Honorable Court to enter Summary

Judgement in favor of Plaintiff and against Defendant.

Date: April 27, 2020

s/Marvin J. Powell, Esquire

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IN THE UNITED STATES
DISTRICT COURT FOR THE
EASTERN DISTRICT OF
PENNSYLVANIA
BARBARA JOHNSON,

Plaintiff, CIVIL ACTION NO.: 2:17-CV-04490-JCJ

V.

BRANCH BANKING AND
TRUST COMPANY,
SUCCESSOR BY MERGER
TO SUSQUEHANNA BANK,

Defendant/Third
-Party Plaintiff,

V.

 

RICHARD A. JOHNSON, JR.
and VIRGINIA THOMAS

Third-Party Defendants.

PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANT’S MOTION FOR
SUMMARY JUDGEMENT

CERTIFICATE OF SERVICE

I hereby certify that on April 27, 2020, a true and correct copy of Plaintiff's

Brief In Opposition To Defendant’s Motion For Summary Judgement was served

by electronic e-mail on the following:
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